          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                           CASE NO. 1:05MJ218

IN RE:                        )
     REAL PROPERTY LOCATED AT )
     STREET ADDRESSES 2294,   )
     2296, 2298 and 2300 U.S. )                        ORDER
     HIGHWAY 70, SWANNANOA,   )
     NORTH CAROLINA, etc.,    )
                              )

      THIS MATTER is before the Court on the memorandum of

Respondent John J. Kelly, M.D., in support of exceptions to the Order

entered by the Magistrate Judge on April 3, 2007, which the Court

construes as an appeal of the Magistrate Judge’s rulings therein.

      The memorandum shows a certificate of service on the United States

Attorney, but no response has been filed. The Court will, therefore, require

the United States to file response as to whether or not it joins in the

Respondent’s exceptions/objections. If not, the Government shall file an

appropriate response to the Respondent’s filing.

      IT IS, THEREFORE, ORDERED that the Government file response

as directed above on or before 15 days from entry of this Order.




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                               Signed: May 16, 2007




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